Case '>_:14-cV-00871-ABC-A.]W Document 19 Filed 07/17/14 Page 1 of 2 Page |D #:55

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Attorneys for Defendant, RENT RECOVERY SOLUTIONS, INC.

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

R()SA CHANEYj Case No: 2:14-cV-00871-ABC

Plam“ff» sTlPULATIoN RE= DIsMISsAL

oF ENTIRE ACTIoN AND ALL
PARTIES WITH PREJUDICE,
PURSUANT To FRCP 41(3)(1)

VS.

RENT RECOVERY SOLUTIGNS;
and DOES 1 to 10, inclusive,

Defendants.

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IT IS HEREBY STIPULATED by and between Plaintiff ROSA CHANEY
and Defendant RENT RECOVERY SOLUTIONS, INC. (“Defendant”) through

their respective counsel of record, that the above-entitled action shall be dismissed

 

{00019708;1} - 1 _ STIPULATION RE DISMISSAL OF ENTIRE ACTION
07794.00 CASE NO: 2114-cv-()0871-ABC

 

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1 in its entirety, With prejudice, pursuant to Rule 41(a)(1)(A)(ii) of the Fedeml Rules
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osz`vz`Z Procedure. Each party shall bear its own costs and expenses
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5 DATED: July 17, 2014 PRICE LAW GROUP APC
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By: /s/ G. Thomas Martin, III
7 G. Thornas Martin, III
8 Attorneys for Plaintiff,
ROSA CHANEY
9
10
DATED: July 17, 2014 CARLSON & MESSER LLP
l l
12
By: /s/ J. Grace Felipe
13 Jeffery J. Carlson
14 J. Grace Felipe
Attorneys for Defendant,
15 ' RENT RECo\/ERY soLUTioNs,
16 LLC
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{000197<)8;1} ~ 2 - STIPULATlON RE DISMlSSAL OF ENTIRE ACTION
07794.00 CASE NO: 2;14-cv-00871~ABC

 

 

